                                         Exhibit B

                             Blackline of Revised Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                 Chapter 11
In re:
                                                                 Case No. 20-10343 (LSS)
BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,1                                              (Jointly Administered)

                       Debtors.                                  Ref. D.I. ___


             ORDER, PURSUANT TO 11 U.S.C. §§ 105(a) AND 363(b), (I)
  AUTHORIZIZINGAUTHORIZING THE DEBTORS TO ADVANCE FUNDING TO
    FACILITATE THE ESTABLISHMENT OF THE SETTLEMENT TRUST, (II)
   AUTHORIZING THE PSZJ FIRM TO ADVANCE FUNDING UNDER THE PSZJ
CONTRIBUTION TO FACILITATE THE ESTABLISHMENT OF THE SETTLEMENT
TRUST, (III) AUTHORIZING THE FUTURE SETTLEMENT TRUSTEE AND CLAIMS
  ADMINISTRATORS TO BEGIN PREPARATORY WORK, AND (IV) GRANTING
                           RELATED RELIEF

          Upon the motion (the “Motion”)2 of Boy Scouts of America (the “BSA”) and Delaware

BSA, LLC, the non-profit corporations that are debtors and debtors in possession in the above-

captioned Chapterchapter 11 cases (together, the “Debtors”), jointly with the Official Committee

of Tort Claimants (the “TCC”), Future Claimants’ Representative (the “FCR”), and Coalition of

Abused Scouts for Justice (the “Coalition”), pursuant to 11 U.S.C. §§ 105(a) and 363(b), for

entry of an order (this “Order”) (i) authorizing the Debtors to fund the Debtors’ Advance

Funding Amount in accordance with the Proposed Budget attached to the Motion as Exhibit B,

as more fully set forth in the Motion, (ii) authorizing an the PSZJ Firm to fund the PSZJ Advance

Funding Amount under the PSZJ Contribution in accordance with the Proposed Budget, (iii)



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    The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Motion.


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authorizing the Future Trustee and Future Claims Administrators to begin their preparatory work

with respect to the Effective Date of the Plan and the establishment of the Settlement Trust, and

(iv) granting related relief; and the Court having jurisdiction to decide the Motion and the relief

requested therein in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware dated as of

February 29, 2012; and consideration of the Motion and the relief requested therein being a core

proceeding under 28 U.S.C. § 157(b)(2); and the Court having authority to enter a final order

consistent with Article III of the United States Constitution; and venue being proper before this

Court under 28 U.S.C. §§ 1408 and 1409; and it appearing that proper and adequate notice of the

Motion has been given and that no other or further notice is necessary; and a hearing having been

held to consider the relief requested in the Motion (the “Hearing”); and upon the record of the

Hearing and all the proceedings before the Court; and after due deliberation thereon; and good

and sufficient cause appearing therefor, it is hereby

                  ORDERED, ADJUDGED, AND DECREED THAT:

         1.       The Motion is GRANTED as set forth herein.

         2.       To the extent that there may be any inconsistency between the terms

of the Motion and related submissions and this Order, the terms of this Order shall

govern.

         3.       The relief granted herein shall be binding upon any Chapterchapter 11

trustee appointed in the CasesDebtors’ cases, or upon any Chapterchapter 7 trustee

appointed in the event of a subsequent conversion of the CasesDebtors’ cases to

cases under Chapterchapter 7.



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         4.       The Debtors are authorized to provide the Debtors’ Advance Funding

Amount in the amount of $1,000,000 and the PSZJ Firm is authorized to provide the

PSZJ Advance Funding Amount in the amount of $2,912,750 (plus an additional

amount from the PSZJ Firm, if requested by the Future Trustee as needed, not to

exceed $300,000), to be used substantially in accordance with the Proposed Budget

attached to the Motion as Exhibit B. The Advance Funding Amount willshall be

disbursed directly to an escrow account to be overseen by the Future Trustee (the

“Escrow Account”). The Escrow Account shall be established by the Future Trustee

at a reputable financial institution with a reputable escrow agent selected by the

Future Trustee. The Escrow Agent shall account for each dollar disbursed from the

Escrow Account based on the ratio between the Debtors’ Advance Funding Amount

and the PSZJ Advance Funding Amount as (ia) 25.56% from the Debtors’ Advance

Funding Amount and (iib) 74.44% from the PSZJ Advance Funding Amount, subject

to adjustment if there is additional funding from the PSZJ Firm as described above.

         5.       As more fully described in the Motion, theThe Advance Funding Amount

shall be disbursed from the Escrow Account at the direction of the Future Trustee,

who shall make an accounting with respect to the Advance Funding Amount with

the Court on a monthly basis within 30 days after month-end. Upon the Effective

Date, the Debtors’ Advance Funding Amount shall be reimbursed directly to

Reorganized BSA in full from either or a combination of (a) a reduction in the cash

amount provided by the BSA as a part of the BSA Settlement Trust Contribution and


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(b) a reimbursement from other cash contributions owed to the Settlement Trust

from other Protected Parties on the Effective Date. Upon the Effective Date, the PSZJ

Advance Funding Amount, to the extent unused, shall roll over to the Settlement

Trust.

         6.       The Future Trustee shall use or direct the use of the Advance Funding

Amount solely for the purposes contemplated by the Proposed Budget or as

otherwise directed in this Order. The Proposed Budget is the result of extensive

good faith, arm’s-length discussions among the Movants and the Future Trustee.

The Future Trustee is hereby authorized to (ia) begin her preparatory work in order

to facilitate the occurrence of the Effective Date as soon as possible once the

conditions to the Effective Date have been satisfied, (iib) incur expenses for the

purposes contemplated by the Proposed Budget or as otherwise directed in this

Order and in accordance with the purposes described in the Plan regarding the

Settlement Trust, and (iiic) cause the payment of such expenses from the Advance

Funding Amount. The Future Claims Administrators are hereby authorized to begin

their work under the direction of the Future Trustee.

         7.       For the avoidance of doubt, nothing in this Order is intended to alter or

waive in any manner any condition to the Effective Date. This Order does not apply

to any expenses for counsel for the FCR, the TCC, or the Coalition.

         8.       If the Debtors become unwilling or unable to consummate the Plan

after some or all the Advance Funding Amount has been disbursed, such that the


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Effective Date does not occur, (ia) any unused portion of the Debtors’ Advance

Funding Amount shall be returned to the Debtors and (iib) any unused portion of

the PSZJ Advance Funding Amount shall be returned to the PSZJ Firm for further

application as shall be determined at the time. The disbursed portion of the both

the Debtors’ Advance Funding Amount and the PSZJ Advance Funding Amount shall

thereafter be recharacterized for applicable purposes as a payment by the Debtors

on account of claims asserted by the applicable creditors pursuant to section 502 or

506(b) of the Bankruptcy Code, provided that the rights of all parties to object to

such characterization shall be preserved. For the avoidance of doubt, the Court’s

determination of any such objection shall not affect the Future Trustee’s authority

to have paid out funds pursuant to the Proposed Budget and this Order. No

recipient of such funds shall be required to return any monies already received for

services performed, nor shall there be any claims against the Future Trustee for

having paid out the funds for services performed.

         9.       Notwithstanding anything contained in the Motion or this Order,

approval of the relief herein shall not affect or otherwise prejudice the rights of any

parties in the pending appeals of the Confirmation Order.

         10.      The Court’s entry of this Order shall not prejudice the rights of any

party in interest to make any argument related to the doctrine of equitable

mootness with respect to any appeals of the Confirmation Order, Confirmation

Opinion or Plan.


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         11.      9. The contents of the Motion and the notice procedures set forth

therein are good and sufficient notice and satisfy the Bankruptcy Rules and the

Local Rules, and no other or further notice of the Motion or the entry of this Order

shall be required.

         12.      10. The Debtors and the PSZJ Firm are authorized and empowered to

take all actions necessary or appropriate to implement the relief granted in this

Order.

         13.      11. The terms and conditions of this Order shall be immediately

effective and enforceable upon its entry.

         14.      12. This Court shall retain jurisdiction with respect to all matters

arising from or related to the implementation and/or interpretation of this Order.




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12:37:23 PM
Input:
Document 1 ID       PowerDocs://DOCS_SF/108763/1
                    DOCS_SF-#108763-v1-BSA_-_Order_re_Settlement_Tru
Description
                    st_Advance_Funding
Document 2 ID       PowerDocs://DOCS_SF/108763/2
                    DOCS_SF-#108763-v2-BSA_-_Order_re_Settlement_Tru
Description
                    st_Advance_Funding
Rendering set       Standard

Legend:
Insertion
Deletion
Moved from
Moved to
Style change
Format change
Moved deletion
Inserted cell
Deleted cell
Moved cell
Split/Merged cell
Padding cell

Statistics:
                                     Count
Insertions                             29
Deletions                              23
Moved from                              0
Moved to                                0
Style changes                           0
Format changes                          0
Total changes                          52
